                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE



UNITED STATES OF AMERICA                         )
                                                 )
      v.                                         )    CRIMINAL CASE NO. 3:05-CR-128
                                                 )    JUDGE PHILLIPS/GUYTON
WILLIAM DREW                                     )



                                        ORDER

              On the petition of the United States of America by Harry S. Mattice, Jr.,

United States Attorney for the Eastern District of Tennessee,

              It is ordered that the Clerk of this Court be and hereby is instructed to issue

a writ of habeas corpus ad prosequendum to the Sheriff, Knox County Jail, in Knoxville,

Tennessee, to bring William Drew, Prisoner I.D. No. 379046 before this Court in Knoxville,

Tennessee, on the 16th    day of November, 2005 at 9:30 a.m. on that day, for an initial

appearance, or for his case to be otherwise disposed of, and each day thereafter until said

case is disposed of, and immediately thereafter be returned to said Sheriff, Knox County

Jail, Knoxville, Tennessee

              And it is further ordered that, in the event the Knox County Jail, Knoxville,

Tennessee, so elects, the United States Marshal for the Eastern District of Tennessee, or

any other duly authorized United States Marshal or Deputy United States Marshal, is

directed to receive said William Drew, into his custody and transport him to and from said

Knox County Jail, Knoxville, Tennessee, and this Court for the aforesaid purpose.


                                          APPROVED FOR ENTRY:


                                                s/ H. Bruce Guyton
                                          United States Magistrate Judge


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